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                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MAINE


In re:
                                                  Bk. No. 16-20503
John O. Goodwin,
                                                  Chapter 13
                   Debtor.


          NOTICE OF WITHDRAWAL OF NATIONSTAR MORTGAGE, LLC’S
                MOTION FOR RELIEF FROM AUTOMATIC STAY

         PLEASE TAKE NOTICE that Nationstar Mortgage, LLC hereby WITHDRAWS its

Motion for Relief from Automatic Stay (Docket No. 33) as the parties are evaluating the

possibility of a modification and the issues surrounding priorities of the liens against the property

of the Debtor.



 
Dated: September 12, 2017                     Respectfully submitted,


                                              /s/ Sam Anderson
                                              D. Sam Anderson, Esq.
                                              Daniel P. Keenan, Esq. (admitted pro hac vice)
                                              BERNSTEIN SHUR SAWYER & NELSON, P.A.
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                               CERTIFICATE OF SERVICE

       I, Sam Anderson, being over the age of eighteen and an attorney at Bernstein, Shur,

Sawyer & Nelson, P.A. in Portland, Maine, hereby certify that, on September 12, 2017, I filed

the Notice of Withdrawal of Nationstar’s Motion for Relief from Automatic Stay via the Court’s

CM/ECF electronic filing system which sent notice to all parties receiving notifications via the

Court’s CM/ECF electronic filing system.

Dated: September 12, 2017                   Respectfully submitted,


                                            /s/ Sam Anderson
                                            D. Sam Anderson, Esq.
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